        Case 2:17-mj-00695-DUTY Document 1 Filed 03/31/17 Page 1 of 1 Page ID #:1
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                                    UNITED STATES DISTRICT COURT
                                   CENTRAL DISTRICT OF CALIFORNIA
                                                                 CASE NUMBER
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                                                   PLAINTIFFS)            c rz-~~-3a^~~G-Sew
                              V.



                n I                                                             AFFIDAVIT RE
   C ~ ~-~d~C~- I VCS ~~~V1                    DEFENDANT(S).              OUT-OF-DISTRICT WARRANT


                                                                  Tv~ G~,~C+V1it2+l~`~'
The above-named defendant was charged by: ~~=~ ~ 4C~,~-66.~ ~-t-t~v ~ ~ =:; ~                   ''~ ~ ',"
                                                                                                        , .,`. ,
in the                                 istrict of M.c)v~~4cA.►~c~ /.S;li:►,~ ~ .D«:~:Qn Mc<<cl,. [ 7, ae I~
at 1 a:nd        ❑ a.m. / I~p.m. The offense was allegedly committed on or about ~ ~ecew~►xT o'~c~ t S
in violation of Title a 1 t~l. S . C .                   .S.C., Sections)     g ~-1 j /'o~,~ C 11
to wit: C~~s,~'.racv a-u ~SSe3~ ~..'~{-t-L '~~n~ev~+ ~~ ~,s-Fr:bctite 11/leElcAw.✓tkefc~rt.~itie

A warrant for defendant's arrest was issued by:          ft rl ✓10-- Cc~ ✓~-~ t'e tezr~. e \ ~( V.

Bond of$                                was~ set / ❑recommended.
          ' ~ ~~:~ r~ 1CCc~. Cam} ~U CJ vl e.. `~
Type of Bond:

Relevant documents)on hand (attach):



I swear that the foregoing is true and correct to the best of my knowledge.

Sworn to before me, and subscribe m my pr ence on                   ~ ~~            1~                                   , by

                 CINDY L. 0        A      ~-                        Deputy Clerk.
                                       `F .,   s




                                       ~.~

                 ~~

Signature of Agent                                                Print Name of Agent


                Fps                                                       ~~ec;~.~        Acp ~+
Agency                                                            Title


CR-52 (05/98)                          AFFIDAVIT RE OUT-0F-DISTRICT WARRANT
